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                                                                COLLINSON LAW
                                                            1   A Professional Corporation
                                                                Laura E. Inlow, State Bar No. 130584
                                                            2    E-mail: inlow@collinsonlaw.net
                                                                Babak Kheiri, State Bar No. 302656
                                                            3    E-mail: babak@collinsonlaw.net
                                                                21515 Hawthorne Blvd., Suite 800
                                                            4   Torrance, California 90503
                                                                Telephone: (424) 212-7777
                                                            5   Facsimile: (424) 212-7757
                                                            6   Attorneys for Defendants, RICARDO HUERTA, RUDOLPH RIVERA, and
                                                                ALDO QUINTERO
                                                            7

                                                            8
                                                            9
                                                                                    UNITED STATES DISTRICT COURT

                                                           10                     CENTRAL DISTRICT OF CALIFORNIA
                                                           11
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                                                                RUFINA MOLINA, ESTATE OF LUIS
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                                                           12
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                                                                                                                 CASE NO. CV16-1293 ODW(ASx)
                    TORRANCE, CALIFORNIA 90503




                                                                MARTINEZ, by and through successor in            Hon. Otis D. Wright
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                                                           13
                                                                interest, RUFINA MOLINA,
                                                           14                                                    ANSWER BY DEFENDANTS
                                                                                                                 RICARDO HUERTA,
                                                                            Plaintiffs,                          RUDOLPH RIVERA, AND
                                                           15
                                                                      v.                                         ALDO QUINTERO TO
                                                           16                                                    PLAINTIFFS’ COMPLAINT
                                                                                                                 FOR DAMAGES AND DEMAND
                                                                CITY OF LOS ANGELES; RICARDO                     FOR JURY TRIAL
                                                           17
                                                                HUERTA, RUDOLPH RIVERA, ALDO
                                                           18   QUINTERO, and DOES 1 through 10,
                                                                inclusive,
                                                           19

                                                           20               Defendants.
                                                           21

                                                           22         COME NOW Defendants RICARDO HUERTA, RUDOLPH RIVERA, and
                                                           23   ALDO QUINTERO answer the Plaintiffs’ Complaint for Damages for themselves
                                                           24
                                                                and no other party, admit, deny and allege as follows:
                                                           25

                                                           26         1.    Answering paragraph 1, no factual allegations are made therein, and
                                                           27   on that basis the paragraph goes unanswered.
                                                           28

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                                                                           DEFENDANTS' ANSWER TO PLAINTIFFS’ COMPLAINT
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                                                            1
                                                                      2.     Answering paragraph 2, no factual allegations are made therein, and

                                                            2   on that basis the paragraph goes unanswered.
                                                            3
                                                                      3.     Answering paragraph 3, no factual allegations are made therein, and
                                                            4

                                                            5   on that basis the paragraph goes unanswered.

                                                            6         4.     Answering paragraph 4, defendants admit the allegations contained
                                                            7
                                                                therein.
                                                            8
                                                            9         5.     Answering paragraph 5, defendants admit the allegations contained

                                                           10   therein.
                                                           11
                                                                      6.     Answering paragraph 6, defendants lack sufficient information and
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                                                                belief upon which to answer the allegations contained therein, and on that basis
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                                                           13

                                                           14   deny the allegations.
                                                           15
                                                                      7.     Answering paragraph 7, no factual allegations are made therein, and
                                                           16

                                                           17   on that basis the paragraph goes unanswered.
                                                           18         8.     Answering paragraph 8, defendants lack sufficient information and
                                                           19
                                                                belief upon which to answer the allegations contained therein, and on that basis
                                                           20

                                                           21   deny the allegations.
                                                           22
                                                                                        FACTS COMMON TO ALL COUNTS
                                                           23

                                                           24         9.     Answering paragraph 9, defendants deny the allegations contained
                                                           25
                                                                therein.
                                                           26

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                                                                           DEFENDANTS' ANSWER TO PLAINTIFFS’ COMPLAINT
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                                                            1
                                                                      10.    Answering paragraph 10, defendants deny the allegations contained

                                                            2   therein.
                                                            3
                                                                      11.    Answering paragraph 11, defendants deny the allegations contained
                                                            4

                                                            5   therein.

                                                            6         12.    Answering paragraph 12, defendants deny the allegations contained
                                                            7
                                                                therein.
                                                            8
                                                            9                       FOR THE FIRST CAUSE OF ACTION
                                                           10                  (Based on Excessive Force/Unreasonable Seizure)
                                                           11                    (Violations of Civil Rights [42 U.S.C. §1983])
                                                                      13.    Answering paragraph 13, which incorporates by reference the
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                                                           13   allegations of other paragraphs of the pleading, defendants to the same extent
                                                           14
                                                                incorporate by reference the answers provided herein to those paragraphs.
                                                           15

                                                           16         14.    Answering paragraph 14, defendants deny the allegations contained

                                                           17   therein.
                                                           18
                                                                      15.    Answering paragraph 15, defendants deny the allegations contained
                                                           19

                                                           20   therein.
                                                           21         16.    Answering paragraph 16, defendants deny the allegations contained
                                                           22
                                                                therein.
                                                           23

                                                           24         17.    Answering paragraph 17, defendants deny the allegations contained
                                                           25   therein.
                                                           26

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                                                                            DEFENDANTS' ANSWER TO PLAINTIFFS’ COMPLAINT
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                                                            1
                                                                      18.    Answering paragraph 18, defendants deny the allegations contained

                                                            2   therein.
                                                            3
                                                                      19.    Answering paragraph 19, defendants deny the allegations contained
                                                            4

                                                            5   therein.

                                                            6         20.    Answering paragraph 20, defendants deny the allegations contained
                                                            7
                                                                therein.
                                                            8
                                                            9                      FOR THE SECOND CAUSE OF ACTION
                                                           10                  (Based on Interference with Familial Integrity and
                                                           11                          Substantive Due Process Violation)
                                                                                  (Violations of Civil Rights [42 U.S.C. §1983])
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                                                           13         21.     Answering paragraph 21, which incorporates by reference the
                                                           14
                                                                allegations of other paragraphs of the pleading, defendants to the same extent
                                                           15

                                                           16   incorporate by reference the answers provided herein to those paragraphs.

                                                           17         22.    Answering paragraph 22, no factual allegations are made therein, and
                                                           18
                                                                on that basis the paragraph goes unanswered.
                                                           19

                                                           20         23.    Answering paragraph 23, defendants deny the allegations contained
                                                           21   therein.
                                                           22
                                                                      24.    Answering paragraph 24, defendants deny the allegations contained
                                                           23

                                                           24   therein.
                                                           25         25.    Answering paragraph 25, defendants deny the allegations contained
                                                           26
                                                                therein.
                                                           27

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                                                                            DEFENDANTS' ANSWER TO PLAINTIFFS’ COMPLAINT
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                                                            1
                                                                      26.     Answering paragraph 26, defendants deny the allegations contained

                                                            2   therein.
                                                            3
                                                                      27.     Answering paragraph 27, defendants deny the allegations contained
                                                            4

                                                            5   therein.

                                                            6
                                                                                           AFFIRMATIVE DEFENSES
                                                            7
                                                                      As separate and distinct affirmative defenses, Defendants allege each of the
                                                            8
                                                                following:
                                                            9
                                                                    FIRST AFFIRMATIVE DEFENSE TO THE COMPLAINT AND EACH
                                                           10
                                                                                  PURPORTED CAUSE OF ACTION THEREIN
                                                           11
                                                                                        (Failure To State A Cause of Action)
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                                                           12         1.      Defendants allege that neither the Complaint on file in this action, nor
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                                                           13
                                                                any of the alleged causes of action therein, state facts sufficient to constitute a
                                                           14

                                                           15   cause of action on which relief can be granted against Defendants.

                                                           16
                                                                           SECOND AFFIRMATIVE DEFENSE TO THE COMPLAINT AND
                                                           17
                                                                                EACH PURPORTED CAUSE OF ACTION THEREIN
                                                           18
                                                                                             (Qualified Immunity - Federal)
                                                           19         2.      Defendants are protected from liability under the doctrine of qualified
                                                           20
                                                                immunity because the alleged conduct of Defendants did not violate clearly
                                                           21

                                                           22   established statutory or constitutional rights of which a reasonable person would

                                                           23   have known.
                                                           24

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                                                                             DEFENDANTS' ANSWER TO PLAINTIFFS’ COMPLAINT
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                                                            1              THIRD AFFIRMATIVE DEFENSE TO THE COMPLAINT AND
                                                            2                    EACH PURPORTED CAUSE OF ACTION THEREIN
                                                            3                                    (Contributory Negligence)
                                                            4
                                                                      3.       Defendants allege that the decedent was negligent in that he failed to

                                                            5   use ordinary care, caution and prudence in and about the matters alleged in the
                                                            6
                                                                Complaint and in each cause of action therein. These answering Defendants further
                                                            7

                                                            8   allege that the damages alleged were directly and proximately caused and

                                                            9   contributed to by the negligence of the decedent and the extent of damages
                                                           10
                                                                sustained, if any, should be reduced in proportion to the amount of said negligence.
                                                           11
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                                                           12           FOURTH AFFIRMATIVE DEFENSE TO THE COMPLAINT AND
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                                                           13          EACH PURPORTED STATE LAW CAUSE OF ACTION THEREIN
                                                           14                                       (Statute of Limitations)
                                                           15         4.       Some or all of plaintiffs’ claims may be barred by the Statute of
                                                           16   Limitations.
                                                           17               FIFTH AFFIRMATIVE DEFENSE TO THE COMPLAINT AND
                                                           18                    EACH PURPORTED STATE LAW CAUSE OF ACTION
                                                           19                                               THEREIN
                                                           20                                (Reasonable Suspicion/Probable Cause)
                                                           21         5.       At all times relevant to this litigation, reasonable suspicion and /or

                                                           22   probable cause existed to believe that the decedent had committed a public offense
                                                           23
                                                                and, therefore, defendants' actions were reasonable and appropriate.
                                                           24

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                                                                           DEFENDANTS' ANSWER TO PLAINTIFFS’ COMPLAINT
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                                                            1                SIXTH AFFIRMATIVE DEFENSE TO THE COMPLAINT AND
                                                            2                   EACH PURPORTED STATE LAW CAUSE OF ACTION
                                                            3                                              THEREIN
                                                            4                                   (Failure to Mitigate Damages)
                                                            5         6.      Plaintiffs have failed, in whole or in part, to mitigate their damages.
                                                            6          SEVENTH AFFIRMATIVE DEFENSE TO THE COMPLAINT AND
                                                            7           EACH PURPORTED STATE LAW CAUSE OF ACTION THEREIN
                                                            8                                      (Reasonable Force)
                                                            9
                                                                      7.      The force used by defendants, if any, was reasonable and authorized

                                                           10   by law. The force used against the decedent, if any, was caused or necessitated by
                                                           11
                                                                the actions of the decedent, and/or were reasonable and necessary for the defense
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                                                           12
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                                                                of others.
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                                                           13

                                                           14
                                                                           EIGHTH AFFIRMATIVE DEFENSE TO THE COMPLAINT AND
                                                           15
                                                                        EACH PURPORTED STATE LAW CAUSE OF ACTION THEREIN
                                                           16
                                                                                                     (Lack of Standing)
                                                           17         8.      Plaintiffs’ claims may be barred because they lack standing to sue.
                                                           18

                                                           19
                                                                           NINTH AFFIRMATIVE DEFENSE TO THE COMPLAINT AND

                                                           20
                                                                        EACH PURPORTED STATE LAW CAUSE OF ACTION THEREIN

                                                           21
                                                                                                        (Good Faith)
                                                                      9.      At all times relevant herein, defendants acted in good faith, without
                                                           22

                                                           23   malice, and within the scope of their duties as peace officers.

                                                           24

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                                                                             DEFENDANTS' ANSWER TO PLAINTIFFS’ COMPLAINT
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                                                            1              TENTH AFFIRMATIVE DEFENSE TO THE COMPLAINT AND
                                                            2             EACH PURPORTED STATE LAW CAUSE OF ACTION THEREIN
                                                            3                                         (Self-Defense)
                                                            4
                                                                      10.     The force used against decedent, if any, was caused and necessitated

                                                            5   by the actions of decedent, and was reasonable and necessary for self-defense.
                                                            6
                                                                      ELEVENTH AFFIRMATIVE DEFENSE TO THE COMPLAINT AND
                                                            7
                                                                          EACH PURPORTED STATE LAW CAUSE OF ACTION THEREIN
                                                            8
                                                                                                   (Defense of Others)
                                                            9
                                                                      11.     The force used against decedent, if any, was caused and necessitated
                                                           10

                                                           11   by the actions of decedent, and was reasonable and necessary for the defense of
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                                                           12   others.
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                                                           13

                                                           14
                                                                          TWELFTH AFFIRMATIVE DEFENSE TO THE COMPLAINT AND

                                                           15
                                                                          EACH PURPORTED STATE LAW CAUSE OF ACTION THEREIN

                                                           16
                                                                                                  (Assumption of Risk)

                                                           17
                                                                      12.     Decedent had actual knowledge of the condition and particular danger

                                                           18
                                                                alleged, knew and understood the degree of risk involved, and voluntarily assumed

                                                           19
                                                                such risk.

                                                           20
                                                                          THIRTEENTH AFFIRMATIVE DEFENSE TO THE COMPLAINT

                                                           21
                                                                             AND EACH PURPORTED STATE LAW CAUSE OF ACTION

                                                           22
                                                                                                        THEREIN

                                                           23
                                                                                                 (Reservation of Rights)
                                                                      13.     These defendants presently have insufficient knowledge or
                                                           24

                                                           25   information upon which to form a belief as to whether they may have additional

                                                           26   affirmative defenses to plaintiffs’ Complaint. As such, defendants reserve the right
                                                           27

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                                                                             DEFENDANTS' ANSWER TO PLAINTIFFS’ COMPLAINT
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                                                            1
                                                                to assert additional defenses in the event that discovery indicates that such defenses

                                                            2   are appropriate.
                                                            3
                                                                                          DEMAND FOR JURY TRIAL
                                                            4

                                                            5         Defendants hereby demand and request a trial by jury in this matter.

                                                            6         WHEREFORE, Defendants pray for judgment as follows:
                                                            7
                                                                      1.     That Plaintiffs take nothing by this action;
                                                            8
                                                            9         2.     That the action be dismissed;

                                                           10         3.     That Defendants be awarded costs of suit;
                                                           11
                                                                      4.     That Defendants be awarded other and further relief as the Court may
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                                                                deem just and proper, including an award of attorney fees pursuant to
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                                                           13

                                                           14   42 U.S.C. §1988.
                                                           15
                                                                DATED: April 1, 2016                   COLLINSON LAW
                                                           16                                          A Professional Corporation
                                                           17
                                                                                                 By: _______/s/___________________
                                                           18                                         Laura E. Inlow, Esq.
                                                           19                                         Babak Kheiri, Esq.
                                                                                                      Attorneys for Defendants,
                                                           20                                         RICARDO HUERTA,
                                                                                                      RUDOLPH RIVERA, and
                                                           21
                                                                                                      ALDO QUINTERO
                                                           22

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                                                                           DEFENDANTS' ANSWER TO PLAINTIFFS’ COMPLAINT
